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        Counsel for Milrose Capital, LLC


        UNITED STATES BANKRUPTCY COURT
        EASTERN DISTRICT OF NEW YORK
        ------------------------------------x
                                            :
                                            :                          Chapter 11
        In re                               :
        SEASONS CORPORATE LLC et al., 1     :
                                            :                          CASE NO. 18-45280 (NHL)
                             Debtors.       :
                                            :                          (Jointly Administered)
                                            :
        ------------------------------------x

                                            NOTICE OF APPEARANCE

                    PLEASE TAKE NOTICE that Foley & Lardner LLP hereby appears as counsel for

        Milrose Capital, LLC. Pursuant to Rules 2002, 7005, and 9010 of the Federal Rules of

        Bankruptcy Procedure (the “Bankruptcy Rules”), Foley & Lardner LLP requests that all notices

        given or required to be given in these cases, and all papers served or required to be served in this

        case, be given and served upon the undersigned at the following address:

                                         Katherine R. Catanese
                                         FOLEY & LARDNER LLP
                                         90 Park Avenue
                                         New York, NY 10016

        1
          The Debtors in these Chapter 11 cases, together with the last four digits of each Debtor’s federal tax
        identification number, are as follows: Blue Gold Equities LLC (7766), Central Avenue Market LLC (7961),
        Amsterdam Avenue Market LLC (7988), Wilmot Road Market LLC (8020), Seasons Express Inwood LLC
        (1703), Seasons Lakewood LLC (0295), Seasons Maryland LLC (1895), Seasons Clifton LLC (3331), Seasons
        Cleveland LLC (7367), Lawrence Supermarket LLC (8258), Upper West Side Market LLC (8895) and Seasons
        Corporate LLC (2266). The mailing address for the Debtors, solely for purposes of notices and
        communications, is: 5 Doughty Boulevard, Inwood, New York 11096.


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                    PLEASE TAKE FURTHER NOTICE, that the foregoing request includes not only

        notices and papers referred to in the Bankruptcy Rules specified above, but also includes,

        without limitation, orders and notices of any applications, motions, petitions, pleadings, requests,

        complaints or demands, whether transmitted or conveyed by mail, hand delivery, telephone,

        telegraph, telex, or otherwise that affects the above-named debtor or debtor in possession, or the

        property of such debtor or the debtor’s estate.

        Dated: New York, New York

                    October 5, 2018

                                                    FOLEY & LARDNER LLP



                                                    By: /s/ Katherine R. Catanese

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